Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 1 of 24 PagelD: 75

EXHIBIT B
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 2 of 24 PagelD: 76

 

Filed with the Court
APR 07 2016
Paula T. Dow, P.J.Ch.
PREPARED BY THE COURT
RICHARD STANHOPE, SUPERIOR COURT OF NEW JERSEY
| CHANCERY DIVISION
Plaintiff, BURLINGTON COUNTY
‘ DOCKET NO. C-110-14
BANK OF AMERICA, N.A., PNC BANK,
.A., DEBORAH and HARRY FRAKE,
A DEBO CIVIL ACTION
Defendants. CASE MANAGEMENT ORDER

 

 

 

 

 

THIS MATTER having come before the Court by way of Case Management on April 7, 2016,
with Plaintiff Richard Stanhope being represented by Lisa Buckalew, Esq. and Richard Kim, Esq.;
Defendant, Bank of America, being represented by Siobhan E. Moran, Esquire; and Defendants

Deborah and Harry Frake not appearing and for good cause shown;

IT IS ON THIS Wey of April, 2016 ORDERED that:

1. All dispositive motions regarding claims against Defendants Deborah and Harry Frake
shall be filed on or before April 29, 2016;

2. Mediation is ordered to be conducted in this case between Plaintiff and Defendant Bank
of America, to be completed by April 29, 2016. Mediation is to proceed in tandem
with ongoing discovery. Discovery deadlines will not be extended due to mediation
discussions;

3. Counsel for Plaintiff and Defendant Bank of America are ordered to meet and confer
by April 13, 2016 to discuss any outstanding discovery disputes, selection of a
mediator, and any other pertinent issues;

4. Counsel for Plaintiff and Defendant Bank of America shall report back to the Court by
April 14, 2016 via joint letter as to the outcome of discussions;

5. Counsel for Plaintiff and Defendant Bank of America are to notify the Court of a
mutually agreed upon mediator within their April 14, 2016 letter;
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 3 of 24 PagelD: 77

6. Altematively, if no mediator can be agreed upon, counsel for Plaintiff and Defendant
Bank of America shal! provide the Court with 2 possible Mediators who are ready and
able to provide mediation services and the Court shall make a selection of its own
choosing;

7. There will be no further adjournments or delays of the trial date. Trial remains
scheduled for June 6, 2016 at 9:00 a.m.

8. A pretrial conference remains scheduled for May 4, 2036 at 9:00 a.m.

IT IS FURTHER ORDERED that a copy of this order shall be served upon all appearing parties

within seven days of its receipt.

 

 

Hon. Paula T. Dow, P.J.Ch.
Mone Wa G- ON, GE MAO-NLH-JS Document 1-2 Filed 04/13/16 Page aol gag pragelP 48
CPF : i. ithe ¢.

DANIEL M. ROSENBERG &
ASSOCIATES, LLC

Daniel M. Rosenberg, Esquire
Attomey Identification No.: 015522003
141 High Street

Mount Holly, New Jersey 08060

(609) 216-7400 (telephone)

(609) 207-3767 (facsimile)

www.danielmrosenberg.com

THE KIM LAW FIRM, LLC

Richard H, Kim, Esquire

Lisa A. Buckalew, Esquire

Attorney I.D. Nos.: 010412005/021231996
911 Arch St., Suite 101

Philadelphia, Pa 19107

(855) 996-6342 (telephone)

(855) 235-5855 (facsimile)

tkim@thekimlawfirmllc.com
Ibuckalew@thekimlawfirmllc.com

 

Richard Stanhope
Plaintiff,
Vv.
Bank of America, N.A., Deborah Carter

Frake, Harry Frake, IJ, John and Jane Doe
1-5, AND ABC Corps, 1-5,

Defendants.

 

"ore

Attomeys for Plaintiff, Richard Stanhope

: SUPERIOR COURT OF NEW JERSEY

CHANCERY DIVISION

: BURLINGTON COUNTY
: DOCKET NO.: C-110-14
: CIVILACTION

: ORDER GRANTING: (1) PLAINTIFF'S
: MOTION TO COMPEL DISCOVERY &
: MORE SPECIFIC ANSWERS TO

: INTERROGATORIES FROM

: DEFENDANT BANK OF AMERICA.,

i NA AND (2) SANCTIONS AGAINST

: BANK OF AMERICA, N.A.

This matter having been brought before the Court upon Motion filed by The Kim Law

Firm, LLC, on behalf of Plaintiff Richard Stanhope, to Compe! Discovery and More Specific

Answers to Intertogatories From Defendant Bank of America, N.A. (“Bank of America”) and the

Court having reviewed all papers submitted, and the opposition, if any, by Defendant Bank of

 
MRE WAG Cy Gegyio-NLH-JS Document 1-2 Filed 04/13/16 Page Wha gyPageld; 49

America, N.A.: a
IT IS on this A / day of Vg, VG j , 2016, ORDERED that:
1, Within seven (7) days from the date of this Order, Defendant Bank of America,

N.A. shall provide full and complete answers, without objections, to Plaintiff’ s_
Ay t 5 40, 30) 34s 33, 34 3, 455 Hy, 45 bd ond £3

Interrogatories numbers 2=tae==20—inaets

    

as requested in Plaintiff's letter to Bank of America, N.A. dated December 11,

2015. ; A
Ge ob retail oF 8S awed Contieluaty ii
2. A, Within seven (7) days from the date of this Order/ Defendant Bank of Americ Pa Ae tuner
N.A. shall provide supplemental responses and all documents requested in /
3,4, 4a 4G

Plainiiff's First Request for Production of Documents numbers SpbpestEsee
AAV AT, AF and 2Y

eee amrans as requested in Plaintiff's letter to Bank of

 

 

    
 

America, N.A, dated December 11, 2015. awe! (
I, Plains fF cs Cndyad Yg 4S ian A Contitedra http Lig rae ?
3.” Within seven (7) days from the date of this Order, Defendant Bank of America, of b
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cnkog ny
Peey t
“els ‘
es

    

_N.A. shall provide a certification of completeness pursuant to R. 4:18-1(c)

regarding Defendant Bank of America, N.A.’s document production;

  

 
 
 
 
  

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ime of trial, that contradicts that a $1,000 withdrawal Cy Ge
Sur

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MG OaRE Wa fe Cy 04 Q4 O-NLH-JS Document 1-2 Filed 04/13/16 Page G OF a4 Pagel, RO

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= OL fraud reimbursement/protection a2 &)

 
  

 

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5 A A A Ou, Y eh
7. Defendant Bank of Americs " is_sanctioned and must provide Plaintiff's
CF b ecle.mhenm ino) cho. whey mm {
% counsel Sigs attorneys’ fees; and ined
Té@. Plaintiff's counsel shall serve this Order upon Bank of America, N.A’s counsel
within five (5) days of the date of receipt of this Order,
Fata, T. Dow J.8.C.
x Opposed
Unopposed ee

 

 

   
   
 
 
  

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1 A Case Vlansgemen? Contevency dit be

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Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 7 of 24 PagelD: 81
Mar. 17. 2076 3:00PM

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Moran Karamouzis LLP

ED No.: 023791987

Slobhan E. Moran, Esq,

MORAN * KARAMOUZIS LLP
265 Sunrise Highway, Suite 61
Rockville Centro, New York 11570

 

(516) 678-6660
(516) 678-6661
Attorneys for Plaintiff Bank of America, N.A.
x
RICHARD STANHOPE,
Plotutiff,
-ngninst-

BANK OF AMERICA, N.A., FNC BANK, N.A.,
DEBORAH ond HARRY FRAKE, IM, ct al,

Defendnnts,

 

=

No. 0702 PF. I
c
03:59.07 pm. 2016-93-16 21d
Filed with the Court
MAR 07 2016
Paula T. Dew, P.u.Ch.

SUPERIOR COURT OF NEW JERSEY
BURLINGTON COUNTY

CHANCERY DIVISION

CIVIL DIVISION

DOCKET NO,: C-110-14

ORDER

THIS MATTER having been opened tc the Court by Siobhan E. Maran af Moran «

Karamouzia, LLP, an attomey admitted to the practice of law in the State of New Jersey, to

participate with other counsel for Bank of America, N.A. {n all plinses of trial, and it appearing

that Mare T, Parrino is a licensed attomey in good standing in the State of Florida, and it

appearing that Marc T. Parrino has a longstanding attomey-client relationship with Bank of

Ametlca, N.A, and a baokground in, knowledge of and experience Jn legal |ssues similar to those

present in thls matter;

The Court having considered the papers and arguments of counsel and for good cause

shown;

yy
IT 1S on this / day of larch

, 2016

 
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 8 of 24 PagelD: 82
P.

Mar 17, 2016 3:01PM No. 0702

»

516678666

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Moran Karamouzis LLP 03:59:23p.m. 2016-03-16

ORDERED that The Motion [s granted and Mare T. Parrino be end here by is admitted

Fro Hac Vice ond is authorized to appear and participate with other counsel for Bank of

Amorica, N.A. in all phases of the trial subject to the following condittons:

I,

2.

Mare T. Parrino shall abide by the New Jersey Court Rules including all disciplinary
rules, & 1:20-1 and 2, 1:28-2,

Mare T. Parrino shall, and hereby does, consent to the appointment of the clerk of the
Supreme Court es his/her agent upon whom service of process may be made for all
actions against him or his firm that may arise out of his participation in this matter.
Marc T. Parrlng shall immediately notify the court of any matter affecting his
standing at the Bar of any other jurisdiction,

Mare T. Paerino shall hava all pleadings, briefy and other papers filed with the Court
signed by an attorney of record authorized to practice in New Jersey, who shall be
held responsible for them, the conduct of the litigatton and the attorney admitted
herelp,

Mare T. Parrino cannot be designated aa trial counsel.

No discovery, motion, trial or any other proceeding delay shall occur or be requested
by reason of the inabllity of Mara T, Parzino to be In attendance.

Mare T. Parrino must, with ten (10) days, pay the fees required by & 1:20-1(%) and
8.1:28-2 and submit an affidavit of compliance.

Pro Hac Vice admission will automatically terminate for failure to make the inillal
and any payment required by R. 1:20+1(b) and 21:28-2,

Non-compliance with any of the terms of this order shall constitute ground for

removal,

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Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 9 of 24 PagelD: 83

Mar. 17 2076) 3:01PM No. 0702 PF. 3
. ( (
516678666! Moran Karamouzis LLP 03:59:42 p.m. 2016-03~16 4a

10, A copy of this order shall be served on all parties within seven (7) days of the date

hereof,

 

Hon. Paula Dow, J.8.C

Thls motion was opposed /unopposed x ’

 
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 10 of 24 PagelD: 84

Mar. 14. 2016 9:03AM No. 0676 P. 1/2
DANIEL M. ROSENBERG &
ASSOCIATES, LLC Attomeys for Plaintiff, Richard Stanhope

Daniel M. Rosenberg, Esquire
Attomey Identification No.: 015522003
141 High Street

Mount Holly, New Jersey 08060

(609) 216-7400 (telephone)

(609) 207-3767 (facsimile)

THE KIM LAW FIRM, LLC Paula

Richard, Kim, Bequie REC RAS
Lisa A, Buckalew, Esquire po °
Attomey ED, Nos.: 010412005/021231996

 

 

911 Arch St, Suite 101
Phitadelphia, Pa 19107
(855) 996-6342 (telephone)
(855) 235-5855 (facsimile)
Ibuckalew@thelimlawfinniic.com
Richard Stanhope SUPERIOR COURT OF NEW JERSEY
CHANCERY DIVISION
Plaintiff, BURLINGTON COUNTY

¥. DOCKET NO,: C-110-14

Bank of America, N.A., Deborah Carter : CIVILACTION
Frake, Harry Frake, HI, John and Jane Doe ;

1-5, AND ABC Corps, 1-5, : ORDER GRANTING PLAINTIF?'S
: MOTION FOR LEAVE TO FILEA
: THIRD AMENDED COMPLAINT
Defendants, :

 

This matter having been brought before the Court upon Motion filed by The Kim
Law Finn, LLC, on behalf of Plaintiff Richard Stanhope, for Leave to File a Third
Amended Compleint (“Motion”), and the Court having revicwed all papers submitted, and
the opposition, if any, by Defendants;

IT YS on this 7 ” day of / larch, , 2016, ORDERED that:

 
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 11 of 24 PagelD: 85

Mar. 14. 2016 9:04AM No. 0676 =P, 2/2

1, Plaintiff is granted leave to file a Third Amended Complaint, in the same
form attached to the Motion.
2, ‘The Third Amended Complaint shall be filed and Served upon defendants
within seven (7) days of the Movant's receipt of this Order,
3. —-PlaintlfP's counsel shell serve this Order upon Bank of America's counsel
within seven (7) days of the date of receipt of this Order,

  

 

—. Opposed

X Unoppored

 
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 12 of 24 PagelD: 86

RECEIVED
Map 14 20i6

 

DANIEL M. ROSENSERG

 
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 13 of 24 PagelD: 87

 

Fi :
©d with the Coury
ID No.: 023791987 M
Siobban E. Moran, Esq. AR 07 2016
MORAN ¢ KARAMOUZIS LLP
265 Sunrise Highway, Suite 61 Paula Ls Dow, P.UCh
Rockville Centre, New York 11570 °
(516) 678-6660
(516) 678-6661
Attorneys for Plaintiff Bank of America, N.A.
RICHARD STANHOPE, SUPERIOR COURT OF NEW JERSEY
BURLINGTON COUNTY
Plaintiff, CHANCERY DIVISION
-uguinst-
CIVIL DIVISION
BANK OF AMERICA, N.A., PNC BANK, N.A,
DEBORAH and HARRY FRAKE, II, et al, DOCKET NO.: C-110-14
Defendants, ORDER

 

THIS MATTER having been opened to the Court by Siobhan E, Moran of Moran @
Karamouzis, LLP, an attorney admitted to the practice of law in the State of New Jersey, to
participate with other counsel for Bank of America, N.A. in all phases of trial, and it appearing
that Sahily Serradet is a licensed atlomey in good standing in the State of Florida, and it
appearing that Sahily Serradet has a longstanding attorney-client relationship with Bank of
America, N.A. and a background in, knowledge of an experience in legal issues similar to those
present in this matter;

The Court having considered the papers and arguments of counsel and for good cause
shown;

LF 74 /) f
ITISonthis /  dayof 4 “ares , 2016
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 14 of 24 PagelD: 88

ORDERED that The Motion is granted and Sahily Serradet be and here by is admitted
Pro Hac Vice and is authorized to appear and participate with other counsel for Bank of
America, N.A. in all phases of the trial subject to the following conditions:

1. Sahily Serradet shall abide by the New Jersey Court Rules including all disciplinary

rules, R. 1:20-1 and R. 1:28-2,

i]

Sahily Serradet shail, and hereby does, consent to the appointment of the clerk of the
Supreme Court as his/her agent upon whom service of process may be made for all
actions against him or his firm that may arise out of his participation in this matter.

3. Sahily Serradet shall immediately notify the court of any matter affecting his standing
at the Bar of any other jurisdiction.

4. Sahily Serradet shall have all pleadings, briefs and other papers filed with the Court
Signed by an attorney of record authorized to practice in New Jersey, who shall be
held responsible for them, the conduct of the litigation and the attorney admitted
herein.

5. Sahily Serradet cannot be designated as trial counsel.

6. No discovery, motion, trial or any other proceeding delay shal! occur or be requested
by reason of the inability of Sahily Serradet to be in attendance.

7. Sahily Serradet must, with ten (10) days, pay the fees required by 2. 1:20-1(b) and
R.1:28-2 and submit an affidavit of compliance,

8. Pro Hac Vice admission will automatically terminate for failure to make the initial
and any payment required by 2. 1:20-1 (b) and R1:28-2.

9. Non-compliance with any of the terms of this order shall constitute ground for

removal,
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 15 of 24 PagelD: 89

10. A copy of this order shall be served on ail parties within seven (7) days of the date

hereof.

ees

Hon. Paula Dow, J.S.C

This motion was opposed funopposed X
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 16 of 24 PagelD: 90

 

 
 
  

 

This matter being brought before the Court upon Motion of The Kim Law Firm, LLC,
and Daniel M. Rosenberg & Associates, LLC, the Court having reviewed all papers submitted to
the Court, and arguments.of the parties, if any:

ITIS onthis_ 2” aay of Februgecs 2018,

é Fited With The Court
FEB 08 2015
DANIEL M. ROSENBERG & ASSOCIATES, Paula T. Dow, S.C.
LLC Attomeys for Plaintiff, Richard Stinhope
Daniel M, Rosenberg, Esquire
Attorney Identification No.: 015522003
141 High Street
Mount Holly, New Jersey 08060
(609) 216-7400 (telephone)
(609) 207-3767 (facsimile)
i b
THE KIM LAW FIRM, LLC
Richard H. Kim, Esquire
Lisa Buckalew, Esquire
Attorney Identification No.: 010412005/021231199
911 Arch St., Suite 101
Philadelphia, Pa 19107
(855) 996-6342 (telephone)
(855) 235-5855 (facsimile)
ci hekimlaw com
Richard Stanhope, * SUPERIOR COURT OF NEW JERSEY
: CHANCERY DIVISION
Plaintiff, : BURLINGTON COUNTY
: CASE NO.:C-110-14
Vv. 5
: CIVIL ACTION
Bank of America, N.A., PNC Bank, N.A., :
Deborah Carter Frake, Harry Frake, Il, John and :
Jane Doe 1-5, AND ABC Corps, 1-5. : ORDERA G THE COURT'S
: DECEMBER 28, 201 TO Fe
> ALLOW PLAINTIFF TO PR! * WV;
Defendants, : WITH COUNT 6 HIS COMPLAINT &
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 17 of 24 PagelD: 91

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Ya inti Fl s motrew For recongiderafad reg, ey
IT IS ORDERED/that the Court's Onder of December 28, 2015 Bfamended to allow

Plaintiff to proceed with Count 6 of his Verified Second Amended Complaint asserting a clatyy

against Bank of America, N.A. for violating the New Jersey Consumer Fraud

IT IS FURTHER ORDERED that a copy of this Order shall be served upon counsel for
all pasties within Z days of its receipt by counsel for the Plaintif

 
 
   

 

THE HONORABLE PAULA T. DOW, PJ.CH.
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 18 of 24 PagelD: 92

 

 

Keb, 2. 2016 2:40PM No. 0439 PL 1/]
Filed with the Court
JAN ¢5 2016
PREPARED BY ‘TIE COURT
Paula Dow, J.$.C.
RICHARD STANIIOPE, SUPRTIOR CAURT AR NPW OUIPRSEY
CHANCERY DIVISION
Plaintiff, PURLING TAN COUNTY
" DOCKET NO. C-110-14
RANK OF AMERICA, Not., PNC RANK,
N.4., NERORAH snd HARRY FRAKT.
I ET AL. CIVIL ACTION
Defendants, ORDER

 

 

 

 

 

THIS MATTER having come before the Court by way of Plaintiffs Motion to Compel
Diovuvery, will Plaintiff? Rivka Studwpe Loin rejnescdted by Lisa Dickalow, Dsquite;
Defendant, Bank of America, being represented by Siobhan TZ. Moran, Esquire, nol appearing, but

submitting papers; and Defendants Deborah and [Harry rake not appearing und for good cause

shown;

i
IT IS ON THIS Ju day of January, 2016 ORDERED that:
I, Plaintiff's mation to compel discovery is RESERVED, pending further discussion

byl reves day waslives
3. Lead councel for Plaintiff and Defendant Rank of America arc QROLB LL to meet ani

conler by February 3, 2016 in an clfort to scttle the current discovery dispute;
3, Blaintiff'o councol is to notify the Court by lalter, not to excood 2 papca in Iongth, by

part, or to notify the Court of failure of the discussions, in which case the Court shal!

rulo on the ponding motion without further briefing or oral argumont,

IT 13 RURTRER ORDER Wola copy ol this ouler doll legal yous all appediting patios
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within seven days of its reccipt, ae —=y
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Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 19 of 24 PagelD: 93

No. 0439 PR O1/I
Filed with the Court

Feb, 2 2016 2:41PM

UM, OAR REM

¥s

BANK OF AMERICA, NLA. PNG BANK,
N.A,, DEBORAH and HARRY FRAKE,
LU, I'T AL,

Defendants,

 

 

 

JAN £5 2016

CHANCERY DIVISION

BURLINGTON COUNTY

DOCKET NO, C-110-14
CIV, ACTION

ORDER

 

 

THIS MATTER having cid before the Gout by way of Maiatiff's Motion ta Qarsped

Discovery, with Plaintiff Richard Stanhope being represented by Lisa Buckalew, Esquire;

Defendant, Bank of America, being represented by Siobhan FE. Moran, Esquire, not appearing, but

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shown;

 

mt:
TT TA 1 THIF di Any af Tanuary, 2016 ONNERER thats
1, Plaintif?'s motion lo compet discovery is RESERVED, pending further discussion

between the partics;

2. Lead counsel for Plaintiff and Defendant Bank of America are ORDERED to meet and

conler by February 3, 2016 in an effort to sctilc the current discovery dispute;
3, Plaintiffs councol io to notify tho Court by letter, not te exceed 2 pages in longth, by

February 6, 2016, to either withdraw (het4imation to compel discovery in full op43——__—1

part, or to noufy the Court of fallure of the discussions, In which cuse the Couri shall

rule on the pending motion without further briefing or oral argument.

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Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 20 of 24 PagelD: 94

filed With Tae Court
DEC 28 2015

Paula T. Dow, 1.5.2

LD No.: 023791987

Siobhan E. Moran, Esq.

MORAN » KARAMOUZIS LLP
265 Sunrise Highway, Suite 61
Rockville Centre, New York 11570

 

(516) 678-6660
(516) 678-6661
Attorneys for Plaintiff Bank of America, N.A.
x
RICHARD STANHOPE, SUPERIOR COURT OF NEW JER!
BURLINGTON COUNTY
Plaintiff, CHANCERY DIVISION
-against-
CIVIL DIVISION
BANK OF AMERICA, N.A., PNC BANK, N.A.,
DEBORAH and HARRY FRAKE, III, et al, DOCKET NO.: C-1t10-14
Defendants, ORDER

 

THIS MATTER having been opened to the Court by Siobhan E Moran of Moran e
Karamouzis, LLP counsel for Defendant Bank of America, N_A., seeking an Order dismissing
Plaintiff's Complaint, dated September 24, 2015, as against Bank of America, pursuant to New
Jersey Court Rule 4:6-2 {e) for failure to state a claim upon which relief can be granted; and

The Court having considered the papers and arguments of counsel and for good cause

ct 77 }

as y Count

i. . + . * .
ORDERED that Plaintiff's Complaint is hereby dismissed{with prejudice as to Bank of

   

America,NA, Qn

FurTier ORDERED Aas Defendant Bank of
PNTERED ON ACH
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 21 of 24 PagelD: 95

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Aner itas

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FA ala 7. Do “ys J5.C

Paula T. Dow, P., Ch,
This motion was opposed X funopposed
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 22 of 24 PagelD: 96

Pred With The Court

HEL 28 2015

 

PREPARED BY THE COURT Paula T fen 16 o

RICHARD STANHOPE, SUPERIOR COURT OF NEW JERSEY
CHANCERY DIVISION

Plaintiff, BURLINGTON COUNTY

v. DOCKET NO. C-110-14

BANK OF AMERICA, N.A., PNC BANK,

.A., DEBORAH and HARRY FRAKE,
I, ET AL. CIVIL ACTION
Defendants. CASE MANAGEMENT ORDER

 

 

 

 

 

THIS MATTER having come before the Court by way of Case Management on December 8,
2015, with Plaintiff Richard Stanhope being represented by Lisa Buckalew, Esquire; Defendant,
Bank of America, being represented by Siobhan E. Moran, Esquire; and Defendants Deborah and

Harry Frake not appearing and for good cause shown;

fn
IT IS ON THIS ds day of December, 2015 ORDERED that:
I. All written discovery requests (document requests and interrogatories) shall be
propounded and responded to by February 1, 2016,
2. Designations of expert witnesses must be submitted by February 1, 2016.
3. All depositions of fact witnesses and expert witnesses, if any, shall be completed by
April 1, 2016.
4. Acase management conference is scheduled for ave 2 Y £0, Lh G
5, The parties shall file any dispositive motions herein by4, ) 15 2016.
6. All pre-trial submissions, including but not limited to, pre-trial memoranda, witness
lists, pre-marked exhibits, and anticipated number of trial dates are to be submitted to
the Court, with a courtesy copy to your adversary, on or before ’ ay x GA Vo

7. A Pre-Trial Conference in this matter is scheduled for th a o O b
8. This matter is scheduled for trial on June 6, 2016, at 9:00 AM. Please note that the

 

case can be called for trial anytime during the week of June 6th.

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Fae Pa ges

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Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 23 of 24 PagelD: 97
——,,

IT IS FURTHER ORDERED that a copy of this order shal] be served upon all appearing parties

within seven days of its receipt.

 

Hon. Paula T. Dow, P.J.Ch.
Case 1:16-cv-02040-NLH-JS Document 1-2 Filed 04/13/16 Page 24 of 24 PagelD: 98

 

JUDGE SUTER Fax: 609-518-2599 Nov 17 2015 10:14 P.02
Filed With The Court
NOV 16 2015
PREPARED BY THE COURT Paula T, Dow, 4.5.C,
RICHARD STANHOPE, SUPERIOR COURT OF NEW JERSEY
Plait, BURLINGTON COUNTY

Ve

BANK OF AMERICA, N.A., PNC BANK, DOCKET NO. C-110-14
N.A., DEBORAH CARTER FRAKE,
HARRY FRAKE, Ill, JOHN AND JANE CIVIL ACTION
DOE 1-5, AND ABC CORPS, 1-5,

Defendants. CASE MANAGEMENT ORDER

 

 

 

 

 

THIS MATTER having come before the Court, Plaintiff being represented by Daniel E.
Rosenberg, Esquire and Defendants being represented by Siobhan E. Moran, Esquire and for good

cause shown;

IT IS ON THIS 16" day of November, 2015 ORDERED that:
1. Acase management conference is scheduled for December 8, 2015, at 9:00 AM. Please
mark your calendars accordingly.

IT IS FURTHER ORDERED that a copy of this order shall be served upon all appearing parties

within seven days of its receipt.

 

 
